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                           UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:18-cr-00072-HZ

               v.                                    GOVERNMENT’S EXHIBIT LIST FOR
                                                     MOTION TO SUPPRESS
TYRONE LAMONT ALLEN,                                 IDENTIFICATION EVIDENCE

              Defendant.


       Attached hereto is a list of exhibits the government intends to offer in at the motion to

suppress hearing. If new exhibits are identified, they will be promptly disclosed to the Court and

defendant.

       Dated: August 13, 2019.                       Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     /s/ Paul T. Maloney
                                                     PAUL T. MALONEY, OSB #013366
                                                     Assistant United States Attorneys

Government’s Exhibit List for Hearing on                                                    Page 1
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                           United States v. Tyrone Lamont Allen
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   Exhibit #                         Description                   Offered   Received
               Government’s Exhibits A-E (From ECF #47,
       1.      Government’s Response to Defendant’s Motion to
               Suppress Identification Evidence)
       2.      Photo Line-up (OnPoint Teller)
       3.      Photo Line-up (Bank of the West Teller)
       4.      Photo Line-up (Advantis Teller)
       5.      Photo Line-up (Wells Fargo Teller)
       6.      Chain of Custody for Exhibit #3
       7.
       8.
       9.
       10.
       11.
       12.
       13.
       14.
       15.
       16.
       17.
       18.




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